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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO.: 25-cr-20102-RAR

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  WILBER ROSENDO NAVARRO-ESCOBAR,

         Defendant.


                               DEFENDANT’S MOTION TO SEAL

         Defendant, WILBER ROSENDO NAVARRO-ESCOBAR, by and through his

  undersigned counsel, files his Motion to Seal and respectfully requests that Defendant’s ex parte

  Motion Requesting Authorization of Expenditure of Criminal Justice Act Funds and any

  resulting Order therefrom be SEALED, as the information contained therein is defense work

  product.

         WHEREFORE, undersigned counsel moves this Honorable Court to enter its Order

  granting this Motion to Seal, for the foregoing reasons.

         DATED: May 16, 2025.
                                                    Respectfully submitted,

                                                    Donet, McMillan & Trontz, P.A.

                                               By: /s/ David A. Donet, Jr.
                                                  David A. Donet, Jr., Esq.
                                                  Florida Bar No.: 128910
                                                  Attorney for Defendant

                                  [Certificate of Service on next page]

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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 16, 2025, undersigned counsel electronically filed

  the foregoing Defendant’s Motion to Seal with the Clerk of the Court using CM/ECF, which will

  send a Notice of Electronic Filing (NEF) to all counsel of record, and that a copy thereof was

  emailed to Larry Dash, Esq., CJA Case Budgeting Attorney, United States Courts of the Fourth

  Circuit, at Larry_Dash@ca4.uscourts.gov.

                                                   Donet, McMillan & Trontz, P.A.

                                              By: /s/ David A. Donet, Jr.
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